                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA

RALEIGH WAKE CITIZENS ASSOCIATION,                         )
et al.                                                     )
                                                           )
                        Plaintiffs,                        )
                                                           )       No. 5:15-cv-156
                v.                                         )
                                                           )
WAKE COUNTY BOARD OF ELECTIONS,                            )
                                                           )
                        Defendant.                         )


CALLA WRIGHT, et al.                      )
                                          )
                  Plaintiffs,             )
                                          )
            v.                            )                        No. 5:13-cv-607
                                          )
STATE OF NORTH CAROLINA, et al.           )
                                          )
                  Defendant.              )
__________________________________________)


                DEFENDANT’S UNOPPOSED MOTION TO EXTEND TIME

        Defendant, through counsel and pursuant to Rule 6(b) of the Federal Rules of Civil

Procedure and Local Rules 6.1, 7.1(d), and 77.2(b), respectfully requests the Court for a 4-hour

extension of time (from 4:00 p.m. to 8:00 p.m.) in which Defendant may respond to the Court’s

August 7, 2016 Order. In support of this unopposed Motion, Defendant shows the following:

        1.      This Court entered its Order on August 7, 2016, directing Defendant to respond to

the feasibility of four (4) specified districting plans.

        2.      Shortly after 10:00 p.m. on August 7, 2016, the North Carolina State Board of

Elections appointed a new member to fill a vacancy on the Wake County Board of Elections.




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        3.      The Wake County Board of Elections is scheduled to hold a duly-noticed meeting

by teleconference today, August 8, 2016, at 5:30 p.m. That meeting was noticed on August 5,

2016.

        4.      One member of the Wake County Board of Elections, Ellis Boyle, an attorney, is

scheduled to appear in the United States District Court for the Western District of North Carolina

in Asheville, North Carolina and then return to Raleigh, North Carolina.

        5.      To the extent that counsel for Defendant may be required to consult with members

of the Board prior to filing a response, Defendant respectfully requests a 4-hour extension of time

(from 4:00 p.m. to 8:00 p.m.) to file its response to account for the addition of a new Board

member, the previously scheduled Board teleconference at 5:30 p.m., and Mr. Boyle’s limited

availability during part of the day.

        6.      Counsel for Defendant is mindful of the exigent circumstances regarding the

remedy in this matter and will endeavor to file Defendant’s response as soon as possible before 8

p.m.

        7.      Counsel for Defendant has conferred with counsel for Plaintiffs, and Plaintiffs do

not oppose this request.

        WHEREFORE, Defendant respectfully requests the Court to enter an Order granting

Defendants a 4-hour extension of time to respond to the Court’s August 7, 2016 Order, to and

including 8:00 p.m. on August 8, 2016.




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Respectfully submitted the 8th of August, 2016.



                                    /s/ Charles F. Marshall
                                    Charles F. Marshall
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                                    Jessica Thaller-Moran
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 8, 2016, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system and have verified that such filing was sent electronically

using the CM/ECF system to the following:

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) 273-7885
                                             Respectfully Submitted,


                                             /s/ Charles F. Marshall
                                             Charles F. Marshall




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